       Case 1:22-cr-00015-APM           Document 366         Filed 10/05/22      Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                          :    CRIMINAL NO. 22-cr-15 (APM)
                                                   :
                       v.                          :
                                                   :
 ROBERTO MINUTA,                                   :
                                                   :
 JOSEPH HACKETT,                                   :
                                                   :
 DAVID MOERSCHEL, and                              :
                                                   :
 EDWARD VALLEJO,                                   :
                                                   :
                     Defendants.                   :

         UNITED STATES’ MOTION FOR EXTENSION OF DEADLINE
  TO PROVIDE SUPPLEMENTAL 404(b) NOTICE TO NOVEMBER TRIAL GROUP

       The United States respectfully requests a one-week extension of the deadline to provide

the defendants in the November Trial Group with supplemental 404(b) notice from October 10 to

October 17, 2022.

       Roberto Minuta, Joseph Hackett, David Moerschel, and Edward Vallejo have been charged

by indictment for their participation in a plot to use force to oppose the authority of the Government

of the United States and to prevent, hinder, or delay the execution of specific laws and provisions

of the Constitution of the United States governing the transfer of presidential power.

       The indictment charges all defendants with seditious conspiracy, in violation of 18 U.S.C.

§ 2384 (Count One); conspiracy to obstruct an official proceeding, in violation of 18 U.S.C.

§ 1512(k) (Count Two); obstruction of an official proceeding, in violation of 18 U.S.C.

§ 1512(c)(2) (Count Three); and conspiracy to use force, intimidation, or threats to prevent officers

of the United States from discharging their duties, in violation of 18 U.S.C. § 372 (Count Four).

                                                  1
      Case 1:22-cr-00015-APM          Document 366        Filed 10/05/22      Page 2 of 3




ECF No. 167. Some defendants were additionally charged with destruction of government

property and aiding and abetting, in violation of 18 U.S.C. §§ 1361 and 2; and tampering with

documents or other objects and aiding and abetting, in violation of 18 U.S.C. §§ 1512(c)(1) and 2.

Id.

       On May 12, 2021, this Court scheduled two trial dates of September 26, 2021 (the

“September Trial Group”), and November 29, 2021 (the “November Trial Group”). ECF No.

133. The Court also set a briefing schedule that required the government to provide notice of its

intention to introduce any evidence under Federal Rule of Evidence 404(b) to the defendants by

July 8, 2022. Id. The government did so. ECF No. 187. On July 29, 2022, defendants

Watkins, Caldwell, and Meggs filed various oppositions to the government’s notice. ECF Nos.

217, 218, 219. The government filed its omnibus opposition to the defendants’ motions in limine

on August 12, 2022. ECF No. 251. Defendant Caldwell filed a reply brief on August 13 (ECF

No. 256), defendant Meggs filed a reply on August 19 (ECF No. 264), and defendant Watkins filed

a reply on August 20, 2022 (ECF No. 270). After a hearing, the Court issued its ruling on the

noticed 404(b) evidence on September 6, 2022. ECF No. 288.

       The briefing schedule also ordered the government to supplement the previous 404(b)

notice for the November Trial Group by October 10, 2022. ECF No. 133 at ¶3. The government

requests a one-week extension of that deadline, to October 17, 2022. Undersigned government

counsel conferred with counsel for the November Trial Group and none opposed this request.

Relatedly, and in line with the current briefing schedule, the November Trial Group will file

motions in limine by October 31, 2022, the government will file oppositions by November 10,

2022, and the November Trial Group will file replies by November 15, 2022. ECF No. 133 at ¶4.


                                                2
      Case 1:22-cr-00015-APM         Document 366       Filed 10/05/22     Page 3 of 3




       WHEREFORE, the government respectfully moves for a one-week extension of its

deadline to supplement its Rule 404(b) notice for the November Trial Group to October 17, 2022.

                                           Respectfully submitted,

                                           MATTHEW M. GRAVES
                                           UNITED STATES ATTORNEY
                                           D.C. Bar Number 481052


                                    By:
                                           Troy A. Edwards, Jr.
                                           Assistant United States Attorney
                                           N.Y. Bar No. 5453741
                                           Ahmed M. Baset
                                           Louis Manzo
                                           Jeffrey S. Nestler
                                           Kathryn Rakoczy
                                           Assistant United States Attorneys
                                           U.S. Attorney’s Office, District of Columbia
                                           601 D Street NW
                                           Washington, D.C. 20530

                                                       /s/
                                           Alexandra Hughes
                                           Justin Sher
                                           Trial Attorneys
                                           National Security Division,
                                           950 Pennsylvania Avenue, N.W.
                                           Washington, D.C. 20004




                                              3
